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                     EXHIBIT B
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 8                                     UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    RALPH COLEMAN,                                      No. 2:90-cv-0520 KJM DB P
12                        Plaintiff,
13            v.                                          PROPOSED
14    EDMUND J. BROWN, JR., et al.,                       ORDER APPOINTING
15                        Defendants.                     NEUTRAL EXPERT
16

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                    The court appoints Charles J. Stevens, Esq. of Gibson, Dunn & Crutcher LLP to
18
     serve as the court’s neutral expert in accordance with Federal Rule of Evidence 706. Mr. Stevens
19
     may utilize additional staff from Gibson, Dunn & Crutcher LLP or retain additional staff to form
20
     an investigative team as he deems necessary to the full, fair and efficient fulfillment of the neutral
21
     expert’s duties under this order. The additional staff may include but not be limited to Benjamin
22
     Wagner, Esq. Mr. Stevens shall identify any additional staff besides Mr. Wagner for approval by
23
     the court in advance of their utilization or retention.
24
                    The purpose of this appointment is to assist the court in investigating allegations
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     raised in the verified report of Dr. Michael Golding, Chief Psychiatrist for the California
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     Department of Corrections and Rehabilitation (CDCR) (Golding Report), ECF No. 5988, to
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     determine whether defendants have committed any fraud on the court or the Special Master, or
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 1   have intentionally provided false or misleading information to the court or the Special Master.1
 2   See Order filed November __, 2018. The specific areas of investigation are described below.
 3          A.      Duties of the Neutral Expert
 4                  It is HEREBY ORDERED that the duties of the neutral expert are and shall be
 5   limited to the following:
 6                  1. To conduct an independent investigation to identify whether facts exist raising
 7   a question whether defendants committed fraud on the court or intentionally misled the court or
 8   the Special Master regarding the following matters raised in the Golding Report:
 9                          a. Lengthening the intervals between psychiatric appointments beyond
10   court-mandated timelines for inmate-patients at the Correctional Clinical Case Management
11   System (CCCMS) and Enhanced Outpatient Program (EOP) levels of care who are transferred to
12   new institutions by resetting the clock for such appointments from the time of transfer rather than
13   from the last completed appointment, rescheduling such appointments at the maximum time
14   allowed in the Program Guide, and reporting compliance with Program Guide requirements using
15   the reset timelines. See Golding Report, ECF No. 5988-1 at 1, 14-23.2
16                          b. Lengthening the interval between psychiatrist appointments for EOP
17   inmate-patients and reporting compliance based on the extended intervals. See id. at 2, 23-26.
18                          c. Combining CCCMS and EOP appointment compliance numbers into
19   one reporting category. See id. at 26-27.
20                          d. Inflating compliance numbers by counting every encounter between a
21   psychiatrist and an inmate-patient as an appointment for purposes of measuring Program Guide
22   timeline compliance, without regard to whether the encounter was a psychiatry appointment or,
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                The redacted version of the Golding Declaration and Report and accompanying exhibits
24   is filed at ECF No. 5988 and is the version to which the court cites in this and all related orders.
25   An unredacted version of the Golding Report is maintained under seal at ECF No. 5990 and will
     be made available to the independent investigator following his appointment.
26
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              The page numbers in this order for documents filed in the court’s Electronic Case Filing
27   (ECF) system are to the page number assigned by the ECF system located in the upper righthand
     corner of each page.
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                                                       2
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 1   e.g., a wellness check or a cell-front attempt to communicate with an inmate patient. See id. at 5-
 2   6, 54-57.
 3                           e. The manner of reporting of scheduled appointments and missed
 4   appointments. See id. at 7-8, 35-47, 62-63.
 5                           f. Failing to report that psychiatric supervisors were also performing some
 6   or all the functions of staff psychiatrists. See id. at 5, 56-57.
 7                           g. The way in which medication non-compliance is measured. See id. at 8,
 8   58-62.
 9                   The scope of the court’s expert’s investigation may be expanded by order of this
10   court after consideration of a request of the expert, the Special Master, or any party, based on a
11   showing that allegations of the Golding Report or facts identified during the investigation, or
12   both, warrant such expansion.
13                   2. To consult with the Special Master as necessary to achieve efficiencies in the
14   discharge of the investigative duties required by this order, without involving the Special Master
15   in the investigation itself. In particular, the expert shall consult with the Special Master to assist
16   in the determination of what types of data and information in the areas covered by section
17   A(1)(a)-(g) above are required by the Program Guide, orders of this court, and directives of the
18   Special Master.
19                   3. To submit to the court within four months a report identifying whether there is
20   evidence sufficient to warrant an evidentiary hearing into whether defendants have intentionally
21   presented false or misleading information to the court in one or more of the areas addressed in the
22   Golding Report and, if so, identifying that evidence. The time allowed for completion of the
23   report will be extended only upon a showing that substantial work remains to complete the duties
24   assigned by this order. The court will distribute the report to the parties upon receipt, and make
25   further orders for filing and consideration of the report upon consultation with the parties.
26                   4. The duties set forth in this order may be further specified, expanded or
27   modified only by order of this court.
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 1          B.         Powers of the Neutral Expert
 2                     IT IS FURTHER ORDERED that the neutral expert shall have such powers as are
 3   necessary to the duties assigned by this order, including:
 4                     1. To interview correctional staff, employees, and appointees of the California
 5   Department of Corrections and Rehabilitation (CDCR). Defendants shall provide suitable
 6   facilities and arrange for such interviews to be conducted under conditions satisfactory to the
 7   neutral expert.
 8                     2. To interview defendant Governor Edmund G. Brown and members of his staff.
 9   Defendants shall provide suitable facilities and arrange for such interviews to be conducted under
10   conditions satisfactory to the neutral expert.
11                     3. To interview counsel for defendants and members of their staff. Defendants
12   shall provide suitable facilities and arrange for such interviews to be conducted under conditions
13   satisfactory to the neutral expert.
14                     4. To have access to the records, files and papers maintained by defendants to the
15   extent that such access is related to the performance of the neutral expert’s duties under this
16   Order. Such access shall include all departmental, institutional, and inmate records, including but
17   not limited to, central files, medical records, and mental health records. The neutral expert may
18   obtain copies of all such relevant records, files, and papers.
19                     5. The powers described herein may only be modified by order of this court.
20          C.         Compensation of the Neutral Expert
21                     IT IS FURTHER ORDERED that the neutral expert and any of his staff shall be
22   compensated at a reasonable blended hourly rate per hour for services performed as approved by
23   the court. The expert shall not be compensated for travel time to and from Sacramento,
24   California. All reasonable expenses incurred by the neutral expert in performing duties under this
25   order shall be reimbursed as costs.
26                     The independent investigator’s fees and expenses shall be borne by the defendants,
27   consonant with the provisions of Federal Rule of Evidence 706(c), as part of the costs of this
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 1   action. The matter of payment of the independent investigator’s fees is referred to the assigned
 2   magistrate judge. The fees will be paid using the following process:
 3                     (1) The independent investigator will submit to the court a proposed monthly
 4   invoice for services rendered, summarizing time spent and expenses incurred, which the court
 5   will initially review. The proposed invoice shall be emailed to dborders@caed.uscourts. After
 6   review the court will provide a copy of the invoice to the parties.
 7                     (2) Any party shall have seven (7) days after receipt of the invoice from the court
 8   to submit to the court objections, if any, to the amount billed in the invoice. Any objections shall
 9   be emailed to dborders@caed.uscourts.gov.
10                     (3) Within seven (7) days thereafter, the independent investigator shall submit to
11   the court and serve on the parties a final monthly invoice for services rendered accompanied by
12   an explanation of the independent investigator’s response to any objections. The final monthly
13   invoice shall be emailed to dborders@caed.uscourts.gov and be accompanied by proof of service
14   on the parties.
15                     After this process has been completed in full, the matter of payment of the invoice
16   will then be submitted to the court for review and, as appropriate, issuance of an order for
17   payment of the final invoice.
18   DATED:
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